Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 1 of 15



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 18-CV-20819

  ALFRED MUNOZ,

          Plaintiff,

  vs.

  VILLAGE OF BISCAYNE PARK,

        Defendant.
  ______________________________/

                                              COMPLAINT

          Plaintiff, Alfred Munoz, brings this action to address the conduct by Defendant, Village of

  Biscayne Park, as follows:

                                  Parties, Jurisdiction, and Venue

          1.      Plaintiff, Alfred Munoz (“Munoz”), was and is a resident of Miami-Dade

  County, at all times material, and he is sui juris.

          2.      Defendant, Village of Biscayne Park (“Biscayne Park”), is a municipality

  within Miami-Dade County, Florida, and it is sui juris.

          3.      This Court has original jurisdiction over Mr. Munoz’s claims that arise under

  federal law and supplemental / pendent jurisdiction over his related state law claim(s).

          4.      Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Biscayne Park is

  located within this District and because most of the actions complained of occurred within this

  District.




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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 2 of 15



                                           Background Facts

          5.      Munoz faithfully and honorably served our country as a member of the United

  States Army.

          6.      Munoz served in active duty for 11 years and two months before receiving an

  honorable discharge from the United States Army.

          7.      Munoz underwent a psychological evaluation on January 9, 2015 prior to being

  hired by Biscayne Park. That pre-employment psychological evaluation resulted in the

  conclusion that Munoz possessed no psychological impediment to serving as a law enforcement

  officer. Consequently, Munoz received an “Acceptable Ranking”.

          8.      Although Munoz was partially disabled as a result of his military service, he was

  otherwise qualified for the position of Police Officer with Biscayne Park.

          9.      Munoz was otherwise qualified to work as a police officer; he passed all

  background investigations, passed all physical examination, and had all necessary education,

  training, and certifications to work in Florida as a police officer.

          10.     Biscayne Park hired Munoz as a reserve Police Officer in February 2015, during

  which time Munoz consistently received satisfactory evaluations from the Biscayne Park police

  officers who were responsible for supervising and evaluating him.

          11.     Munoz also received no citizen complaints or disciplinary actions while working

  as a reserve Police Officer for Biscayne Park.

          12.     Biscayne Park thereafter entered into a Training Agreement with Munoz on or

  about April 5, 2015, in which it agreed to pay him a set salary in exchange for his working for

  Biscayne Park as a Police Officer trainee.

          13.     On or about April 5, 2015, Biscayne Park hired Munoz as a full-time, active
                                                     2	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 3 of 15



  Police Officer.

          14.       Biscayne Park’s former Chief of Police authorized Munoz to work on his own,

  during the day shift(s), as of April 14, 2015.

          15.       Munoz thereafter continued to have a stellar work history with Biscayne Park; he

  received no adverse employment actions, had no citizen complaints, received discipline, and was

  not the subject of any internal affairs investigation(s) during his employment tenure with Biscayne

  Park.

          16.       Unfortunately, Munoz was routinely subjected to harassment and was

  discriminated against while working at Biscayne Park by being subjected to ridicule and

  disparaging commentary about disabled veterans (like Munoz) and those with Post Traumatic

  Stress Disorder (“PTSD”) (which they regarded Munoz as having), and Munoz routinely

  reported these issues to supervisory personnel.

          17.       Supervisory personnel not only ignored his complaints, but they also engaged in

  the same type of conduct about which Munoz complained.

          18.       The Village Manager for Biscayne Park expressed concerns about Munoz’s

  service in the United States Armed Forces. In particular, she was concerned that Munoz would

  be “too aggressive” because of her bias that most members of the United States Armed Forces

  have PTSD.

          19.       The situation got so bad during Munoz’s employment that, in response to Munoz

  having raised concerns about being harassed and discriminated against because he is a veteran

  and because others “thought” or “regarded him” as having PTSD, the acting/former Chief of

  Police changed Munoz’s take-home vehicle to protect Munoz.

          20.       Biscayne Park requested that Munoz resign from his employment on January 15,
                                                    3	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 4 of 15



  2016, and informed Munoz that his employment would be terminated if he did not resign.

          21.      Biscayne Park constructively terminated Munoz’s employment as result of his

  raising concerns about being about being harassed and discriminated against, and in connection

  therewith, informed the Florida Department of Law Enforcement on the Affidavit of Separation

  that his was a “Voluntary separation not involving misconduct”.

          22.      All conditions precedent have been performed by Munoz, occurred, or waived by

  Biscayne Park.

          23.      Munoz retained the undersigned counsel and agreed to pay his counsel a

  reasonable fee for all services rendered.

                              COUNT I –DISABILITY DISCRIMINATION
                              IN VIOLATION OF TITLE II OF THE ADA

          Plaintiff, Alfred Munoz, reincorporates and re-alleges all preceding paragraphs as though

  set forth fully herein and further alleges as follows:

          24.      Title II of the ADA prohibits discrimination by an employer against “a qualified

  individual on the basis of disability.” 42 U.S.C. § 12112(a).

          25.      Biscayne Park was at all times material an “employer”, as the term is defined by

  the ADA.

          26.      The ADA defines “disability” as “(A) a physical or mental impairment that

  substantially limits one or more major life activities of [an] individual; ... or (C) being regarded as

  having such an impairment.” 42 U.S.C. § 12102(1).

          27.      Biscayne Park “regarded” Mr. Munoz as disabled as a result of its considering him

  to have PTSD.

          28.      Biscayne Park further discriminated against Munoz as a result of his service-

                                                     4	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 5 of 15



  related disabilities, for which Munoz received a 40% disability rating.

         29.     Mr. Munoz was, nonetheless, still qualified to perform the functions of a Police

  Officer with Biscayne Park.

         30.     Biscayne Park was a “covered entity” that discriminated against Mr. Munoz “on

  account of” his (perceived) disability and/or “on account of” his actual disability.

         31.     Biscayne Park never performed any study, analysis, or determined whether it

  could accommodate any perceived or actual disability of Munoz.

         32.     Biscayne Park improperly subjected Munoz to ridicule and harassment in his

  work and then constructively discharged him from his employment because it regarded him as

  having PTSD, which it further perceived to be a disability.

         33.     Biscayne Park knew or should have known of the harassment that Munoz

  endured, as a result of his complaints and the pervasive nature of this conduct, but failed to take

  prompt and effective remedial action in response thereto.

         34.     Munoz thereafter applied for (re-)employment with Biscayne Park.

         35.     Biscayne Park rejected Munoz’s re-application of employment in February of

  2017 as a direct and proximate result of its regarding him as disabled.

         36.     Biscayne Park’s acts of omission and/or of commission violated the ADA, which

  prohibits discrimination against persons who are disabled, who have a record of disability, or

  who are regarded as disabled.

         37.     As a direct and proximate result of Biscayne Park’s conduct as described above,

  Munoz incurred economic losses, including the loss of wages and benefits, seniority, pension,

  vacation and sick leave benefits. In addition, his reputation was harmed and he suffered mental

  anguish as a direct and proximate result of Biscayne Park’s conduct.
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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 6 of 15



          WHEREFORE Plaintiff, Alfred Munoz, demand the entry of a judgment in his favor and

  against Defendant, Village of Biscayne Park, after trial by jury, for compensatory damages,

  including for damages to his reputation, emotional distress damages, to be placed in the position

  he would be in, but for the unlawful discrimination, through either reinstatement or lost past and

  future wages and employment-related benefits, the grant of injunctive relief prohibiting the

  Village of Biscayne Park from discriminating against him and reinstating him to his employment

  during this litigation, his attorneys’ fees, costs, and all interest allowed by law, and such other

  relief as the Court deems just and proper.

                                COUNT II – UNLAWFUL RETALIATION
                               IN VIOLATION OF TITLE II OF THE ADA

          Plaintiff, Alfred Munoz, reincorporates and re-alleges paragraphs 1 through 23 as though

  set forth fully herein and further alleges as follows:

          38.     Title II of the ADA prohibits discrimination by an employer against “a qualified

  individual on the basis of disability.” 42 U.S.C. § 12112(a).

          39.     Biscayne Park employed Munoz at all times material and so was his “employer”

  as the term is defined by the ADA.

          40.     The ADA defines “disability” as “(A) a physical or mental impairment that

  substantially limits one or more major life activities of [an] individual; ... or (C) being regarded as

  having such an impairment.” 42 U.S.C. § 12102(1).

          41.     Biscayne Park “regarded” Mr. Munoz as disabled as a result of its considering him

  to have PTSD.

          42.     Biscayne Park further discriminated against Munoz as a result of his service-

  related disabilities, for which Munoz received a 40% disability rating.

                                                     6	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 7 of 15



         43.     Mr. Munoz was, nonetheless, qualified to perform the functions of a Police Officer

  with Biscayne Park.

         44.     Biscayne Park was a “covered entity” that discriminated against Mr. Munoz “on

  account of” his (perceived) disability and/or “on account of” his actual disability.

         45.     Biscayne Park never performed any study, analysis, or determined whether it

  could accommodate any perceived or actual disability of Munoz.

         46.     Biscayne Park improperly subjected Munoz to ridicule and harassment in his

  work and then constructively discharged him from his employment because it regarded him as

  having PTSD, which it regarded as a disability.

         47.     Biscayne Park knew or should have known of the harassment that Munoz

  endured, as a result of his complaints and the pervasive nature of this conduct, but failed to take

  prompt and effective remedial action in response thereto.

         48.     Munoz thereafter applied for (re-)employment with Biscayne Park.

         49.     Biscayne Park rejected Munoz’s re-application of employment in February of

  2017 as a direct and proximate result of his complaints about being discriminated against for

  being regarded as disabled.

         50.     Biscayne Park’s acts of omission and/or of commission violated the ADA, which

  prohibits employment discrimination against persons who are disabled, who have a record of

  disability, or who are regarded as disabled.

         51.     As a direct and proximate result of Biscayne Park’s conduct as described above,

  Munoz incurred economic losses, including the loss of wages and benefits, seniority, pension,

  vacation and sick leave benefits. In addition, his reputation was harmed and he suffered mental

  anguish as a direct and proximate result of Biscayne Park’s conduct.
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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 8 of 15



           WHEREFORE Plaintiff, Alfred Munoz, demand the entry of a judgment in his favor and

  against Defendant, Village of Biscayne Park, after trial by jury, for compensatory damages,

  including for damages to his reputation, emotional distress damages, to be placed in the position

  he would be in, but for the unlawful discrimination, through either reinstatement or lost past and

  future wages and employment-related benefits, the grant of injunctive relief prohibiting the

  Village of Biscayne Park from discriminating against him and reinstating him to his employment

  during this litigation, his attorneys’ fees, costs, and all interest allowed by law, and such other

  relief as the Court deems just and proper.

                                COUNT III – DISCRIMINATION
                      IN VIOLATION OF §504 OF THE REHABILITATION ACT

           Plaintiff, Alfred Munoz, reincorporates and re-alleges paragraphs 1 through 23 as though

  set forth fully herein and further alleges as follows:

           52.     Biscayne Park is a municipality that received federal financial assistance at all

  times material to this action, as defined by 29 U.S.C. §794.

           53.     Biscayne Park is subject to §504 of the Rehabilitation Act pursuant to 29 U.S.C.

  §794a.

           54.     Section 504 of the Rehabilitation Act provides in pertinent part:

           [n]o otherwise qualified individual with a disability in the United States . . . shall, solely
           by reason of her or his disability, be excluded from the participation in, be denied the
           benefits of, or be subjected to discrimination under any program or activity receiving
           Federal financial assistance.

  29 U.S.C. §794(a) (emphasis added).

           55.     Section 504 of the Rehabilitation Act also defines “individual with a disability” as

  any person who:

        (i) has a physical or mental impairment which substantially limits one or more of such
                                                      8	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 9 of 15



         person’s major life activities; (ii) has a record of such an impairment; or (iii) is regarded as
         having such an impairment.

  29 U.S.C. §705(20)(B).

           56.       In turn, “major life activities” are “functions, such as caring for one’s self,

  performing manual tasks, walking, seeing, hearing, speaking, breathing, learning, and working.”

  29 C.F.R. § 1614.203(a)(3).

           57.       Biscayne Park improperly subjected Munoz to ridicule and harassment in his

  work and then constructively discharged him from his employment because it regarded him as

  having PTSD, which it considered to be a mental impairment that substantially limited his major

  life activities.

           58.       Munoz thereafter applied for (re-)employment with Biscayne Park.

           59.       Biscayne Park then improperly rejected Munoz’s application for (re-)employment

  in February 2017 as a direct and proximate result of its regarding him as having PTSD and/or

  an impairment that substantially limits his major life activities.

           60.       Biscayne Park’s acts of omission and/or of commission violated the Rehabilitation

  Act.

           61.       As a direct and proximate result of Biscayne Park’s conduct as described above,

  Munoz incurred economic losses, including the loss of wages and benefits, seniority, pension,

  vacation and sick leave benefits. In addition, his reputation was harmed and he suffered mental

  anguish as a direct and proximate result of Biscayne Park’s conduct.

           WHEREFORE Plaintiff, Alfred Munoz, demand the entry of a judgment in his favor and

  against Defendant, Village of Biscayne Park, after trial by jury, for compensatory damages,

  including for damages to his reputation, emotional distress damages, to be placed in the position

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 10 of 15



   he would be in, but for the unlawful discrimination, through either reinstatement or lost past and

   future wages and employment-related benefits, the grant of injunctive relief prohibiting the

   Village of Biscayne Park from discriminating against him and reinstating him to his employment

   during this litigation, his attorneys’ fees, costs, and all interest allowed by law, and such other

   relief as the Court deems just and proper.

                             COUNT IV – RETALIATION
                  IN VIOLATION OF §504 OF THE REHABILITATION ACT

           Plaintiff, Alfred Munoz, reincorporates and re-alleges paragraphs 1 through 23 as though

   set forth fully herein and further alleges as follows:

           62.     The Village of Biscayne Park is a municipality that received federal funding at all

   times material to this action.

           63.     Section 504 of the Rehabilitation Act provides in pertinent part:

           [n]o otherwise qualified individual with a disability in the United States . . . shall, solely
           by reason of her or his disability, be excluded from the participation in, be denied the
           benefits of, or be subjected to discrimination under any program or activity receiving
           Federal financial assistance.

   29 U.S.C. §794(a) (emphasis added).

           64.     Section 504 of the Rehabilitation Act also defines “individual with a disability” as

   any person who:

         (i) has a physical or mental impairment which substantially limits one or more of such
         person's major life activities; (ii) has a record of such an impairment; or (iii) is regarded as
         having such an impairment.

   29 U.S.C. § 705(20)(B).

           65.     In turn, “major life activities” are “functions, such as caring for one’s self,

   performing manual tasks, walking, seeing, hearing, speaking, breathing, learning, and working.”

   29 C.F.R. § 1614.203(a)(3).
                                                      10	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 11 of 15



           66.     The anti-discrimination provision of the Rehabilitation Act incorporates the anti-

   retaliation provision of the ADA.

           67.     Biscayne Park retaliated against Munoz in response to his having complained

   about being the subject of discrimination and harassment about his suffering from or being

   regarded as suffering from PTSD, thereby violating the Rehabilitation Act.

           68.     As a direct and proximate result of Biscayne Park’s conduct as described above,

   Munoz incurred economic losses, including the loss of wages and benefits, seniority, pension,

   vacation and sick leave benefits. In addition, his reputation was harmed and he suffered mental

   anguish as a direct and proximate result of Biscayne Park’s conduct.

           WHEREFORE Plaintiff, Alfred Munoz, demand the entry of a judgment in his favor and

   against Defendant, Village of Biscayne Park, after trial by jury, for compensatory damages,

   including for damages to his reputation, emotional distress damages, to be placed in the position

   he would be in, but for the unlawful discrimination, through either reinstatement or lost past and

   future wages and employment-related benefits, the grant of injunctive relief prohibiting the

   Village of Biscayne Park from discriminating against him and reinstating him to his employment

   during this litigation, his attorneys’ fees, costs, and all interest allowed by law, and such other

   relief as the Court deems just and proper.

                                   COUNT V – VIOLATION OF USERRA

           Plaintiff, Alfred Munoz, reincorporates and re-alleges paragraphs 1 through 23 as though

   set forth fully herein and further alleges as follows:

           69.     This is a claim brought pursuant to the United Serves Employment and

   Reemployment Rights Act of 1994, 38 U.S.C. §§4301-4333 (“USERRA”).

           70.     Biscayne Park regarded Munoz as disabled due to a mistaken belief that he
                                                      11	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 12 of 15



   suffered a service-connected disability (PTSD).
          71.     Biscayne Park violated USERRA by, amongst other ways, the following:
                  a.      Constructively terminating Munoz’s employment as a result of his military
                          service and/or the mistaken belief that he suffered a service-connected
                          disability (PTSD); and/or
                  b.      Failing or refusing to re-employ Mr. Munoz upon his re-application for
                          employment in 2017.
          72.     As a direct and proximate result of Biscayne Park’s conduct, and its reckless

   disregard of Munoz’s rights under USERRA, Munoz incurred economic losses, including the loss

   of wages and benefits, seniority, pension, vacation and sick leave benefits. In addition, his

   reputation was harmed and he suffered mental anguish as a direct and proximate result of

   Biscayne Park’s conduct.

          WHEREFORE Plaintiff, Alfred Munoz, demand the entry of a judgment in his favor and

   against Defendant, Village of Biscayne Park, after trial by jury, for compensatory damages,

   including for damages to his reputation, emotional distress damages, to be placed in the position

   he would be in, but for the unlawful discrimination, through either reinstatement or lost past and

   future wages and employment-related benefits, the grant of injunctive relief prohibiting the

   Village of Biscayne Park from discriminating against him and reinstating him to his employment

   during this litigation, his attorneys’ fees, costs, and all interest allowed by law, and such other

   relief as the Court deems just and proper.

                                COUNT VI – VIOLATION OF FRCA

          Plaintiff, Alfred Munoz, reincorporates and re-alleges paragraphs 1-23 as though set forth

   fully herein and further alleges as follows:

          73.     Biscayne Park “regarded” Mr. Munoz as disabled as a result of its considering him


                                                     12	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 13 of 15



   to have PTSD.

          74.      Biscayne Park further discriminated against Munoz as a result of his service-

   related disabilities, for which Munoz received a 40% disability rating.

          75.      Mr. Munoz was, nonetheless, qualified to perform the functions of a Police Officer

   with Biscayne Park.

          76.      Biscayne Park was a “covered entity” that discriminated against Mr. Munoz “on

   account of” his (perceived) disability and/or “on account of” his actual disability.

          77.      Biscayne Park never performed any study, analysis, or determined whether it

   could accommodate any perceived or actual disability of Munoz.

          78.      Biscayne Park improperly subjected Munoz to ridicule and harassment in his

   work and then constructively discharged him from his employment because it regarded him as

   having PTSD.

          79.      The ridicule and harassment that Munoz endured was so severe and pervasive

   that it altered the conditions of his employment and created an abusive working environment.

          80.      Biscayne Park knew or should have known of the harassment that Munoz

   endured, as a result of his complaints and the pervasive nature of this conduct, but failed to take

   prompt and effective remedial action in response thereto.

          81.      Biscayne Park’s acts of omission and/or of commission violate of the ADA, which

   prohibits employment discrimination against persons who are disabled, who have a record of

   disability, or who are regarded as disabled.

          82.      There were other Police Officers who were similarly situated to Munoz employed

   by Biscayne Park who were not regarded as having PTSD and/or who did not have a

   documented impairment and who were treated better than Munoz, who were not ridiculed, and
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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 14 of 15



   who were not constructively terminated from their employment.

          WHEREFORE Plaintiff, Alfred Munoz, demand the entry of a judgment in his favor and

   against Defendant, Village of Biscayne Park, after trial by jury, for compensatory damages,

   including for damages to his reputation, emotional distress damages, to be placed in the position

   he would be in, but for the unlawful discrimination, through either reinstatement or lost past and

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   during this litigation, his attorneys’ fees, costs, and all interest allowed by law, and such other

   relief as the Court deems just and proper.




                                                   14	

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Case 1:18-cv-20819-MGC Document 1 Entered on FLSD Docket 03/05/2018 Page 15 of 15



                                  DEMAND FOR JURY TRIAL
        Plaintiff, Alfred Munoz, demands a trial by jury of all issues so triable.


        Dated this 5th day of March, 2018.

                                               Respectfully Submitted,

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                                               s/Brian H. Pollock, Esq.
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                                                        and

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